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7     House Hotels & Resort, Ltd.
8
                           UNITED STATES DISTRICT COURT
9
                        SOUTHERN DISTRICT OF CALIFORNIA
10
                                  SAN DIEGO DIVISION
11
     Kathleen Holt, individually and on behalf )    Civil No. 3:17-cv-02246-MMA-BLM
12   of all others similarly situated,          )
                                                )   DEFENDANT NOBLE HOUSE’S
13                                   Plaintiff, )   MEMORANDUM OF POINTS AND
                                                )   AUTHORITIES IN SUPPORT OF
14          v.                                  )   OPPOSITION TO PLAINTIFF’S
                                                )   MOTION FOR PARTIAL
15   Noble House Hotels & Resort, LTD. d/b/a )      SUMMARY JUDGMENT AND
     Noble House Hotels & Resort, LTD. LP; )        CROSS-MOTION FOR SUMMARY
16   and Does 1 to 25, inclusive,               )   JUDGMENT ON ALL ISSUES
                                                )
17                                Defendants.   )   Date: March 11, 2019
                                                )   Time: 2:30 p.m.
18                                              )   Courtroom: 3D
                                                )   Judge: Hon. Michael M. Anello
19                                              )
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1                     I.   INTRODUCTION & RELIEF REQUESTED
2           After San Diego raised the minimum wage January of 2017, Defendant Noble
3    House Hotels & Resorts, LTD. (“Noble House”) added a 3.5% service charge (the
4    “Surcharge”) to all bills at its restaurants to cover the increased cost of providing
5    service to its customers. Scores of other San Diego restaurants implemented similar
6    surcharges following the minimum wage increase. In order to make customers aware
7    of the surcharge and the reason for the increase in the cost of service, Noble House
8    chose to prominently disclose the Surcharge to its customers in a variety of ways.
9    This included signs prominently displayed at entrance points, menus with clear and
10   conspicuous disclosures on the first page, and bills with the Surcharge separately
11   itemized and explained again.
12         On August 6, 2017, Plaintiff Kathleen Holt (“Plaintiff”) dined at one of Noble
13   House’s restaurants with a dining companion, Robert Hyde, an attorney whose law
14   firm had already filed nine lawsuits against other San Diego restaurants challenging
15   their surcharge practices. Plaintiff does not dispute that she received the surcharge
16   disclosure on the menu, or that she paid the check for herself and Mr. Hyde, which
17   included a $1.38 Surcharge.
18         Plaintiff now represents certified classes advancing two general legal theories
19   against Noble House: that any Surcharge, regardless of how prominently or clearly
20   it is displayed to customers, is per se illegal, and that even if the Surcharge is not per
21   se illegal, it was inadequately disclosed in a way that would leave a reasonable
22   customer unaware that they would be subject to the Surcharge.
23         There are no disputed issues of material fact that would prevent the Court from
24   entering summary judgment in Noble House’s favor on any of Plaintiff’s claims.
25   Plaintiff contends that she and every member of the class received the same
26   Surcharge Disclosures, and she does not dispute that the Surcharge was implemented
27   in precisely the way it was disclosed to customers at the Restaurants. Each of
28   Plaintiff’s claims fails as a matter of law. First, surcharges like the one at issue in

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       Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    this case are not illegal under California law; rather, the plain language of the statute
2    on which Plaintiff relies makes clear that it does not apply to restaurant surcharges
3    for service. Moreover, such surcharges have been acknowledged and approved by
4    the California State Board of Equalization, which permits such surcharges, so long
5    as they are adequately disclosed. Every California enforcer and court to address the
6    issue has reached the same conclusion.         Second, the Surcharge is adequately
7    disclosed.   Noble House provides all customers with a truthful and complete
8    explanation of the Surcharge at the point of entry, the point of ordering, and again at
9    the point of payment. A reasonable customer could not be deceived or misled by the
10   Surcharge.
11          Accordingly, Plaintiff’s Motion for Partial Summary Judgment regarding the
12   per se illegality of Noble House’s surcharge practice should be denied, and summary
13   judgment should be granted in Noble House’s favor on all of Plaintiff’s claims.
14                       II.    UNDISPUTED MATERIAL FACTS
15   A.     Factual Background.
16          Noble House operates Acqua California Bistro, Fresco’s, the Olive Bar, and
17   Aroma Coffee Shop located in the Hilton San Diego Resort & Spa (each a
18   “Restaurant”). 1 SOF-1. In February 2017, Noble House began adding a 3.5%
19   Surcharge to all bills at the Restaurants to help cover increased labor costs. SOF-2.
20   In order to make customers aware of the Surcharge and the reason for the increase in
21   the cost of service, Noble House chose to prominently and repeatedly disclose the
22   Surcharge in at least three ways (each a “Surcharge Disclosure”):
23          Signs. At the entryway host stand, in lounge and bar areas, and around dining
24   areas, the Restaurants display signs (“Signs”) containing nothing but Noble House’s
25   standard Surcharge Disclosure language: “A 3.5% surcharge will be added to all
26   Guest checks to help cover increasing labor costs and in our support of the recent
27   1
      Pursuant to the Court’s Civil Chambers Rules § IV, Noble House’s Statement of
     Undisputed Material Facts is set forth in a separate pleading filed concurrently
28   herewith (each a “SOF”).
                                                2
         Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    increases in minimum wage and benefits for our dedicated Team Members.” SOF-
2    4 (emphasis added).
3           Menus. On the first page of the Restaurants’ menus (the “Menu”), Noble
4    House’s standard Surcharge Disclosure language appears in offset text, 2 in the same
5    size font as is used to list food and beverage items: “A 3.5% surcharge will be added
6    to all Guest checks to help cover increasing labor costs and in our support of the
7    recent increases in minimum wage and benefits for our dedicated Team Members.”
8    SOF-5 (emphasis added).
9           Bills. On every bill the Restaurants issue (the “Bill”), there is (i) a line item
10   showing the exact amount of the Surcharge, indicating that the Surcharge is added
11   after the subtotal is calculated but before taxes are applied, (ii) offset text, in the same
12   size font as is used to list the other items on the Bill, stating Noble House’s standard
13   Surcharge Disclosure language: “A 3.5% surcharge has been added to all Guest
14   checks to help cover increasing labor costs and in our support of the recent
15   increases in minimum wage and benefits for our dedicated Team Members,”
16   (emphasis added) and (iii) a separate line after the total amount due marked
17   “GRATUITY” (emphasis in original) with a blank space for patrons to leave an
18   optional, customary tip. SOF-6.
19          On August 6, 2017, Plaintiff dined at one of the Restaurants, Acqua California
20   Bistro, with her friend and attorney in this case, Robert Hyde. SOF-9. Prior to dining
21   with Plaintiff at Acqua California Bistro, Hyde had already filed nine nearly identical
22   suits against other San Diego restaurants alleging claims nearly identical to those
23   alleged in this case. SOF-15. He went on to file at least five more such suits against
24   other restaurants. Id.
25          During Plaintiff’s visit with Hyde, Signs prominently displayed at the
26   entryway host stand, in lounge and bar areas, and around dining areas contained the
27
     2
       The Surcharge Disclosures on Acqua California Bistro and Olive Bar’s Menus
28   appear in red text, whereas the Surcharge Disclosure on Fresco’s Menu appears in
     black text. SOF-5. Aroma Coffee Shop does not use a menu. Id.
                                                  3
         Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    Surcharge Disclosures. SOF-4. Plaintiff ordered from a Menu that included the
2    Surcharge Disclosure on the first page, in offset red text in the same size font as food
3    and beverage items, as the Menus always do. SOF-10; see also SOF-5. Plaintiff paid
4    for both meals on a single Bill that included the Surcharge as a separate post-subtotal
5    pre-tax line item ($1.38), exactly 3.5% of her subtotal for “items ordered” ($39.50),
6    along with a Surcharge Disclosure in offset text in the same size font as is used to list
7    the other items on the Bill, as the Bills always do. SOF-11; see also SOF 6.
8            Despite the fact that she was dining with a friend who had just filed nine
9    lawsuits challenging restaurant surcharges, Plaintiff testified that she first discovered
10   the Surcharge when she received her Bill, after eating her meal but prior to paying.
11   SOF-12. Plaintiff paid her Bill, including the $1.38 Surcharge, without discussing
12   the Surcharge with any Restaurant employees or otherwise complaining about the
13   Surcharge. SOF-13. At the end of that meal, Plaintiff retained Hyde to file this
14   lawsuit against Noble House. SOF-14.
15   B.      Procedural Background.
16           In September 2017, Plaintiff filed her class action complaint (as amended, the
17   “Complaint”) against Noble House in San Diego Superior Court, alleging
18   Surcharge-related claims under three related consumer protection statutes. ECF No.
19   1. In November, 2017, Noble House removed the case to this Court, and moved to
20   dismiss the case. ECF No. 1, 6. That motion was denied because the Court
21   determined that granting the motion would require factual findings regarding the
22   disclosures made by Noble House to customers, which were referenced in, but not
23   attached to, the Complaint. ECF No. 14.
24           On October 16, 2018, the Court granted Plaintiff’s motion for class
25   certification, certifying two classes: (1) a Rule 23(b)(2) class consisting of “[a]ll
26   persons who were charged a surcharge on their bill, between February 1, 2017 and
27   October 16, 2018, at a restaurant in California managed by [Noble House],” and (2)
28   a Rule 23(b)(3) class consisting of “[a]ll residents of California who were charged a

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1    surcharge on their bill at” one of three Hilton San Diego Resort and Spa restaurants
2    between February 1, 2017 and September 20, 2017 who paid with a credit card. ECF
3    No. 63.
4          On December 27, 2018, Plaintiff moved for partial summary judgment on her
5    claim under Cal. Civ. Code § 1770(a)(20) (“Plaintiff’s MPSJ”). ECF No. 69.
6    Pursuant to the parties’ stipulated briefing schedule, Noble House hereby files this
7    opposition to Plaintiff’s MPSJ and cross-motion for summary judgment on all legal
8    issues, including not only whether the Surcharge is inherently unlawful, but also
9    whether Noble House adequately discloses the Surcharge.
10         This is not an isolated case; rather, it is one of fifteen copy-and-paste class
11   action complaints filed by Plaintiff’s counsel in San Diego Superior Court against
12   local restaurants that add surcharges to their patrons’ bills. SOF-15. All of the
13   complaints, including the Complaint against Noble House, allege similar violations
14   of California consumer protection laws predicated on the same general legal theories:
15   (i) that restaurant surcharges are inherently unlawful, and (ii) that the individual
16   restaurants do not adequately disclosing their surcharges. Id.
17         After Noble House removed its case to this Court, the other fourteen state court
18   cases were reassigned to Judge Timothy Taylor to be jointly administered as “related”
19   cases (the “State Court Action”), and Judge Taylor stayed all but two of the cases,
20   designating Vespi v. Galaxy Taco and Fischer v. El Camino Hospitality as “test
21   cases” to try common issues of law and fact, including whether restaurant surcharges
22   are inherently unlawful, and whether those two “test case” restaurants adequately
23   disclosed their surcharges. See Vespi v. Galaxy Taco, No. 2017-17791, at 1-2 (Super.
24   Ct. of Cal., Cty. of San Diego Nov. 16, 2018).
25         The State Court Action defendants moved for summary judgment (or the
26   equivalent) on all legal issues, and on November 16, 2018, Judge Taylor granted
27   defendants’ motion, effectively disposing of all claims in the test case against Galaxy
28   Taco (the “State Court Ruling”). Id. As Judge Taylor held, “The undisputed

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1    evidence establishes that the surcharge is not unlawful as matter of law, that
2    defendant made adequate and non-misleading disclosures about the surcharge, and
3    that plaintiff did not rely on a misleading statement in the surcharge disclosure.” Id.
4    at 8.
5                                 III.   ISSUES PRESENTED
6            1.     Whether the Surcharge is inherently unlawful.
7            2.     Whether the Surcharge is adequately disclosed.
8                        IV.   APPLICABLE LEGAL STANDARDS
9    A.      Standard for Relief.
10           “A party may move for summary judgment, identifying each claim or
11   defense—or the part of each claim or defense—on which summary judgment is
12   sought.” Fed. R. Civ. P. 56(a). “The court shall grant summary judgment if the
13   movant shows that there is no genuine dispute as to any material fact and the movant
14   is entitled to judgment as a matter of law.” Id. The party seeking summary judgment
15   bears the initial burden of establishing the basis of its motion and of identifying the
16   portions of the declarations, pleadings, and discovery that demonstrate absence of a
17   genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct.
18   2548, 91 L.Ed.2d 265 (1986).
19           A fact is material if it could affect the outcome of the suit under applicable
20   law. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248–49, 106 S.Ct. 2505, 91
21   L.Ed.2d 202 (1986). A dispute about a material fact is genuine if there is sufficient
22   evidence for a reasonable jury to return a verdict for the non-moving party. Id. at
23   248. The party opposing summary judgment cannot “rest upon the mere allegations
24   or denials of [its] pleading” but must instead produce evidence that “sets forth
25   specific facts showing that there is a genuine issue for trial.” Fed .R. Civ. P. 56(e)).
26   B.      Relevant Statutes.
27           In her Complaint, Plaintiff advances two general legal theories: (1) that the
28   Surcharge is inherently unlawful and a per se violation of Cal. Civ. Code §

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          Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    1770(a)(20) (“Section 1770(a)(20)”), and (2) that the Surcharge Disclosures are
2    deceptive and misleading, and violate three related consumer protection statutes:
3    California’s Consumers Legal Remedies Act (“CLRA”), False Advertising Law
4    (“FAL”), and Unfair Competition Law (“UCL”). Given the undisputed facts now
5    established in this case, Plaintiff cannot prevail as a matter of law on any of her
6    asserted claims.
7                       V.   LEGAL ARGUMENT AND ANALYSIS
8    A.     The Surcharge Is Not Per Se Unlawful.
9           Plaintiff’s theory that the Surcharge is per se unlawful is entirely predicated
10   on Plaintiff’s argument that the Surcharge violates Section 1770(a)(20) of the
11   CLRA. 3 Plaintiff’s attempt to bring the Surcharge within the scope of Section
12   1770(a)(20) fails because (1) the statute does not apply to the Surcharge, which
13   reflects a charge for service distinct from the price for food or drinks reflected on the
14   Menu; (2) disclosed surcharges are a common practice throughout California, and
15   they have been specifically recognized by state regulators and enforcers as proper;
16   and (3) ruling in favor of Plaintiff’s interpretation of Section 1770(a)(20) would
17   violate Noble House’s free speech rights under the U.S. Constitution.
18          1.     Section 1770(a)(20) Does Not Prohibit the Surcharge.
19          Section 1770(a)(20) prohibits “advertising that a product is being offered at a
20   specific price plus a specific percentage of that price.” Cal. Civ. Code § 1770(a)(20).
21   Plaintiff alleges that Noble House’s Menu and Surcharge violate Section 1770(a)(20)
22   because it separates the Surcharge from the prices offered for food and drinks on the
23   Menu itself. Even assuming arguendo that the Menu is an “advertisement” and the
24
     3
       Plaintiff’s claim under the UCL’s “unlawful” prong also calls into question whether
25   the Surcharge is inherently unlawful; however, that claim is entirely dependent on
     Plaintiff establishing a predicate violation of Section 1770(a)(20). Lazar v. Hertz
26   Corp., 69 Cal. App. 4th 1494, 1505 (1999). The balance of Plaintiff’s claims (CLRA
     Section 1770(a)(9), FAL, and UCL “unfair” and “deceptive” prongs) do not focus on
27   whether the Surcharge is inherently unlawful, instead they focus on the whether the
     Surcharge is adequately disclosed (i.e., whether the Surcharge is unfair, deceptive,
28   misleading, or untrue) under the reasonable customer standard.
                                                7
         Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    food and beverage items listed on the Menu are “products” and/or “goods,” (which
2    California courts have held they are not) 4 Plaintiff’s attempt to bring the Surcharge
3    within the scope of the Section 1770(a)(20) fails because the Surcharge is not an
4    addition to the price of the alleged “product” (i.e., the individual food or beverage
5    item), as the statute prohibits; rather, the Surcharge is a separate charge for service.
6    Section 1770(a)(20) prevents retailers from double-pricing individual products; it
7    cannot be read to encompass separate charges expressly attributable to the provision
8    of ancillary services. Indeed, listing a mandatory service charge separate from food
9    and beverage prices allows patrons the opportunity to fully understand exactly what
10   it is they are paying for.
11          In construing a statute, California courts “first look to the plain meaning of the
12   statutory language, then to its legislative history and finally to the reasonableness of
13   a proposed construction.” Riverview Fire Prot. Dist. v. Workers’ Comp. Appeals Bd.,
14   23 Cal. App. 4th 1120, 1126, 28 Cal. Rptr. 2d 601, 605 (1994). Plaintiff cannot
15   establish that Section 1770(a)(20) prohibits the Surcharge under either a plain reading
16   of the statute or by evoking its legislative history.
17                   a.    Section 1770(a)(20)’s Plain Language Does Not Prohibit the
18                         Surcharge.
19          Plaintiff     entirely   ignores   the    fundamental     distinction    between
20   “products”/“goods” and “services” at play: the Restaurants charge fixed prices for
21   their food and beverage items (each allegedly a “good” or “product”), and a separate
22   price for the corresponding service provided by the Restaurant’s employees
23   (“services”).
24          This distinction is expressly recognized by the CLRA itself: “goods” and
25   “services” are defined separately, with “services” specifically defined to include
26   “services furnished in connection with the sale or repair of goods.” Cal. Civ. Code §
27
     4
       See, e.g., Vespi v. Galaxy Taco, No. 2017-17791 at 9 (holding that a restaurant’s
28   menu is not “advertising” and its food items are not “products” within the scope of
     the CLRA).
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         Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
               Judgment and Cross-Motion for Summary Judgment on All Issues
1    1761 (emphasis added). The Surcharge is not an additional charge for individual
2    food and beverage items, it is a separate charge altogether for “services furnished in
3    connection with the sale” of those items. The total amount paid by each customer,
4    as itemized on the Bill, is ultimately a combination of (i) itemized charges for food
5    and beverage items, (ii) the Surcharge for services provided in connection with the
6    meal, (iii) two government-mandated taxes, and (iv) an optional gratuity.
7          Plaintiff cannot identify a single case where a mandatory fixed-percentage
8    service charge was ruled unlawful per se, under Section 1770(a)(20) or otherwise.
9    See ECF No. 69-1 at pp. 8-14. Indeed, the California courts that have considered the
10   issue have unanimously concluded that Section 1770(a)(20) does not apply to such
11   surcharges (and none of those decisions have been overturned on appeal). See Vespi
12   v. Galaxy Taco, No. 2017-17791 at 8 (holding that “the surcharge is not unlawful as
13   a matter of law” because “[t]here is no statute or case law that provides that the
14   surcharge is unlawful as a matter of law”); Michaelson v. Ritz-Carlton Hotel Co., No.
15   02CC00141 (Super. Ct. of Cal., Cty. of Orange Nov. 21, 2002) (“Simply put, the
16   court is not persuaded that there is anything wrong with charging one amount for the
17   food or beverage [and] another amount for the service… The business practice
18   challenged in this case is not the least bit unfair, unlawful, or fraudulent.”).
19         Moreover, California and Ninth Circuit courts of appeal have approved similar
20   fixed-percent surcharges. See, e.g., Searle v. Wyndham Internat., Inc., 102 Cal. App.
21   4th 1327, 1334, 126 Cal. Rptr. 2d 231 (2002) (approving hotel’s practice of adding a
22   mandatory fixed-percent surcharge to all room service bills because customers
23   receive adequate notice); Italian Colors Rest. v. Becerra, 878 F.3d 1165, 1178 (9th
24   Cir. 2018) (holding that retailers’ practice of adding a mandatory fixed-percent
25   surcharge to bills when customers pay with credit cards was “not unlawful,” but
26   suggesting that “California could require retailers to disclose their surcharges both
27   before and at the point of sale.”).
28         Plaintiff’s MPSJ is full of citations to cases that have defined “advertisements”

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       Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    and “products” in readily distinguishable contexts—none address the legality of
2    surcharges, let alone a service charge added by a restaurant or other hospitality
3    business. See Cortina v. Goya Foods, Inc., 94 F. Supp. 3d 1174 (S.D. Cal. 2015)
4    (claims regarding a beverage producer’s labeling practices), Faigman v. AT & T
5    Mobility LLC, C 06-04622 MHP, 2007 WL 2088561 (N.D. Cal. July 18, 2007)
6    (claims against a mobile phone producer’s rebate practices); In re Ferrero Litig., 794
7    F. Supp. 2d 1107, 1110 (S.D. Cal. 2011) (claims regarding a condiment producer’s
8    labeling practices); Reilly v. Inquest Tech., Inc., 218 Cal. App. 4th 536, 541, 160 Cal.
9    Rptr. 3d 236, 239 (2013) (dispute regarding wholesale computer parts and
10   components); Bogart v. Glenmark Generics, Inc., USA, 14-CV-778 LAB DHB, 2014
11   WL 5800577, at *1 (S.D. Cal. Nov. 7, 2014) (claims regarding defective birth control
12   pills); Wixon v. Wyndham Resort Dev. Corp., C07-02361 JSW, 2008 WL 1777590,
13   at *1 (N.D. Cal. Apr. 18, 2008) (claims regarding time share credit program); but see
14   Vespi v. Galaxy Taco, No. 2017-17791 at 9 (holding that a restaurant’s menu is not
15   “advertising” and its food items are not “products” within the scope of the CLRA).
16   All of the cases relied on by Plaintiff deal with the pricing of single “products,” and
17   none support the proposition that a separate surcharge for services are in any way
18   improper under California law.      Compare with Michaelson v. Ritz-Carlton Hotel
19   Co., No. 02CC00141 (Section 1770(a)(20) does not apply to surcharges because
20   “there is [nothing] wrong with charging one amount for the food or beverage [and]
21   another amount for the service”)
22                b.     Section 1770(a)(20)’s Legislative History Does Not Prohibit the
23                       Surcharge.
24         To the extent there is any ambiguity in the language of Section 1770(a)(20),
25   the statute’s legislative history demonstrates that it was not enacted to prohibit
26   separate charges like the Surcharge.
27         The statute was enacted in 1984 “to stop reported deceptive advertising
28   practices by several supermarkets in Southern California.” A.B. 2979 (Molina), 1984

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1    Stat. Ch. 1171, Senate Committee on Judiciary, Consumer Protection: Deceptive
2    Pricing Practices, at 2 (August 6, 1984). The California Attorney General sponsored
3    the bill “in response to complaints about some food stores which advertise the sale
4    of their products at a prominently marked base price plus a much less prominently
5    disclosed percentage markup, usually 10% more. Often these stores are located in
6    areas where many residents are non-English speaking or are less sophisticated.” Id.;
7    Consumer Protection; Prohibited Deceptive “Price + Percentage” Advertising
8    Practice: Hearing on A.B. 2979 before the Assembly Committee on Consumer
9    Protection and Toxic Materials (Cal. April 3, 1984). The legislature’s intent was
10   clear: the wrong that Section 1770(a)(20) was enacted to remedy was misleading
11   advertising relating to staple “products” sold in economically disadvantaged
12   communities, often where English is a second language.
13         To that end, Section 1770(a)(20) is narrowly tailored “in response to” a
14   “percentage markup” charged by “food stores” that is “much less prominently
15   disclosed,” “designed to, and does, mislead consumers” and has “no legitimate
16   basis.” Cal. Assembly Office of Research, Concurrence in Senate Amendments to
17   Assem. Bill 2979 (Molina), Aug. 17, 1984. A supermarket advertisement for a single
18   food item is significantly different from the service charge challenged here, because
19   the Surcharge has a legitimate basis (service furnished in connection with a meal)
20   and is not designed to deceive or mislead customers (Surcharge Disclosures are
21   clearly and conspicuously displayed on the Signs, Menu, and Bill).
22         A restaurant patron not only receives food, but also the service that goes into
23   preparing and delivering that food to the customer, among other service aspects of a
24   typical meal. Given this distinction, and the type of deception Section 1770(a)(20)
25   was drafted to address, it would contradict the legislature’s intent to extend this
26   statute to the Surcharge by declaring food or beverage items and related service
27   charges to be a single “product.” The Surcharge is not a charge for a product, as
28   explained by the Surcharge Disclosure.

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       Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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2           2.     The Surcharge is Protected by Safe Harbors.
3           Plaintiff’s Section 1770(a)(20) claim also fails because California regulators
4    recognize restaurants’ right to apply a mandatory fixed-percent service charge to
5    patrons’ bills.
6           Under the well-recognized “safe harbor” doctrine in California law, when the
7    legislature or state regulator considers a particular practice and deems it proper,
8    businesses are entitled to rely on that determination and CLRA, FAL, and UCL
9    claims like those alleged by Plaintiff cannot be used as a vehicle to override that
10   determination. See Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20
11   Cal. 4th 163, 182, 973 P.2d 527, 83 Cal. Rptr. 2d 548 (1999) (“If the Legislature has
12   permitted certain conduct or considered a situation and concluded no action should
13   lie, courts may not override that determination.”); Barber v. Nestle USA, Inc., 154 F.
14   Supp. 3d 954, 958 (C.D. Cal. 2015), aff’d, 730 Fed. Appx. 464 (9th Cir. 2018) (“Cel–
15   Tech applied the safe harbor doctrine only to UCL claims, but other courts have
16   recognized that the doctrine equally applies to claims under the CLRA and FAL.”).
17   Further, it is well established that regulations can create safe harbors. See Davis v.
18   HSBC Bank Nevada, N.A., 691 F.3d 1152, 1166 n. 3 (9th Cir. 2012) (collecting
19   California cases); Lopez v. Nissan N. Am., Inc., 201 Cal. App. 4th 572, 592, 135 Cal.
20   Rptr. 3d 116 (2011) (safe harbor doctrine applies to bar claims when the allegedly
21   fraudulent and unfair practice “complies with specific California regulations.”);
22   Alvarez v. Chevron Corp., 656 F.3d 925, 933 (9th Cir. 2011) (compliance with
23   California regulations created “safe harbor from liability under these broad consumer
24   protection statutes.”)
25          Here, California’s State Board of Equalization (the “BOE”) enacted a
26   regulation governing the taxation of mandatory surcharges including “service
27   charges, or any other separately stated payment for services associated with the
28   purchase of meals, food, or drinks” (“Section 1603(h)”). Code Regs., tit. 18, §

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1    1603(h). Section 1603(h) provides that when a restaurant’s “menu, brochures,
2    advertisements or other printed materials contain statements that notify customers
3    that… service charges will or may be added,” the “amount automatically added by
4    the [restaurant] to the bill” is subject to tax. Id. (emphasis added).
5           In February 2017, the same month the Restaurants began adding the Surcharge,
6    the BOE issued “Special Notice: Sales Tax Applies to Restaurant Surcharges”
7    explaining Section 1603(h) in plain English (the “Special Notice”). SOF-19. The
8    Special Notice is expressly intended to address the “[m]any restaurant
9    owners/operators [that] add a surcharge to their receipts to cover required employer
10   costs, such as increases to minimum wage, healthcare contributions, and paid sick
11   leave.” Id. In the Special Notice, the BOE advises California restaurants that “[i]f
12   you add a separate surcharge to the customers’ bills, sales tax applies to the surcharge
13   amount,” and provides an example bill that includes a line item for a 3% “Restaurant
14   Surcharge” followed by a line item for sales tax. Id. 5
15          The BOE’s regulations and guidelines for how to implement mandatory
16   service charges are an express acknowledgement of the propriety of such surcharges
17   when they are disclosed on menus and itemized on bills, as is uniform practice for
18   the Restaurants. See Vespi v. Galaxy Taco, No. 2017-17791, No. 02CC00141 at 8-9
19   (“the [BOE’s Special Notice]… does not advise of unlawful conduct” rather “the fact
20   the Special Notice was sent out establishes that an arm of the state government was
21   aware of the surcharge practice, and there was no effort by any arm of government
22   to stop the practice.”). The Surcharge is implemented exactly as contemplated under
23   Section 1603(h) and the Special Notice:          each Menu contains the Surcharge
24   5
       In addition to Section 1603(h) and the Special Notice, BOE Vice Chair Diane
     Harkey defended the practice of San Diego restaurants adding surcharges:
25   “Following San Francisco and Los Angeles, San Diego is one of the last big cities in
     California to see restaurants add a surcharge to cope with the rising cost of
26   government mandates… When they are implemented correctly, surcharges are a legal
     way for restaurants to honor the desire of the voters for a higher minimum wage,
27   while ensuring that owners can pay their employees the higher wage and still remain
     in business.” Diane Harkey, Surcharges Aren’t Sweet, and No One Likes the Bad
28   Taste of Unemployment, Board of Equalization, https://www.boe.ca.gov/harkey/op-
     eds/201701-1OP.htm. (last visited January 18, 2019).
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         Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    Disclosure, and each Bill contains a Surcharge line item that is subject to tax.
2           In addition to the BOE, numerous California employment regulations also
3    recognize the permissibility of surcharges, and provide further compelling support
4    for a safe harbor for businesses relying on such regulation. The Division of Labor
5    Standards Enforcement enacted 22 Code Regs. § 927-1, providing that mandatory
6    service charges distributed to employees at the employer’s discretion are not “tips
7    and wages.” Similarly, the California Labor Code § 350(e) distinguishes amounts
8    owed to a restaurant for “services rendered” from “goods, food, drink, or articles sold
9    to the patron.”
10          Local governments, too, have enacted codes and ordinances permitting
11   restaurant surcharges, subject to certain local requirements. See, e.g., Santa Monica
12   Municipal Code § 4.62.040(b) (“All Service Charges must be disclosed to consumers
13   with Clear and Conspicuous notice prior to the time that the customer makes a
14   purchase or selection…”). In short, regulatory bodies from the statewide level down
15   to the local level have considered surcharges, deemed them proper, and provided
16   guidance for their implementation. A ruling to the contrary would throw the state
17   regulatory framework into extreme disarray and create conflicting guidance to
18   businesses simply trying to comply with the law—the very result that the legislative
19   safe harbor is intended to avoid. 6
20          Moreover, since January 2017, San Diego City Attorney Mara Elliott (the
21   “SDCA”) has led a highly-publicized investigation into San Diego restaurants that
22   add surcharges, and has taken action against restaurants that fail to adequately
23   disclose their surcharges, first by providing informal notice to the restaurants, then
24   by filing a formal lawsuit if a restaurant fails to improve its disclosure practices. 7
25   6
      For example, in 2018 the California Restaurant Association published guidance for
     California restaurants that add surcharges to cover increased labor expenses. SOF-
26   22.
27   7
       San Diego City Attorney’s Office, A Report to the People of San Diego, City of San
     Diego Official Website (January 2018), https://www.sandiego.gov/sites/default/files/
28   careport2017.pdf (“We quickly warned the public that restaurants were adding a
     ‘surcharge’ to bills without advising consumers in advance of the charge, or truthfully
                                               14
         Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    The SDCA has not challenged restaurant surcharges that were adequately disclosed,
2    and has never challenged Noble House’s disclosure practices. Cf. Vespi v. Galaxy
3    Taco, No. 2017-17791 at 9 (even for restaurants that received a notice from the
4    SDCA, “the absence of follow up to the letters” suggests the subject surcharges are
5    lawful).
6           3.     Applying Section 1770(a)(20) to Prohibit the Surcharge Would Violate
7                  Noble House’s First Amendment Free Speech Rights.
8           Adoption of Plaintiff’s strained reading of Section 1770(a)(20) to prohibit
9    restaurant surcharges would run afoul not only of the legislative safe harbors, but also
10   of the constitutional protections for commercial speech. As the Ninth Circuit
11   articulated in a 2018 case involving credit card surcharges, a restriction on
12   commercial speech is unconstitutional if the speech “is neither misleading nor related
13   to unlawful activity” and the restriction is “more extensive than necessary” to serve
14   the government’s “substantial interest.” Italian Colors Rest. v. Becerra, 878 F.3d
15   1165, 1176 (9th Cir. 2018) (citations omitted). 8
16          In Italian Colors, the Ninth Circuit declared an anti-surcharge statute
17   involving credit card fees failed the intermediate scrutiny test applied to commercial
18   speech, and was unconstitutional when applied as an outright prohibition regardless
19   of whether the surcharge in question is adequately disclosed. Id. at 1179 (“In sum,
20   Section 1748.1 restricts plaintiffs’ non-misleading commercial speech.”). In short,
21   the Ninth Circuit concluded that the State of California had an obligation to tailor its
22   explaining what the charge meant… Although most restaurants were responsive to
     our threat to sue any business that unlawfully deceived the public, we continue to get
23   complaints, and are in the process of prosecuting a non-compliant restaurant
     owner.”).
24
     8
       Plaintiff asserts that Noble House has failed to comply with Fed. R. Civ. P. 5.1,
25   which requires parties to file a notice of constitution questions when challenging the
     constitutionality of a state statute. However, Noble House does not challenge the
26   constitutionality of Section 1770(a)(20) outright, but rather notes that applying
     Section 1770(a)(20) to prohibit all restaurant surcharges (a purpose for which the
27   statue was never intended) would raise serious constitutional concerns. Moreover, a
     notice need only be filed “promptly” after raising a challenge, and a constitutional
28   claim or defense cannot be waived for failing to file such a notice so long as the claim
     or defense is “otherwise timely asserted.”
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         Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    enforcement of its anti-surcharge statute to instances where the portrayal of the
2    surcharges at issue were actually misleading.        Enforcing a per se ban on all
3    surcharges, including non-misleading surcharges, simply “because of the potential
4    for misleading information in other cases” cannot withstand constitutional scrutiny.
5    Id. at 1178.
6            If Section 1770(a)(20) were interpreted to create a per se prohibition of all
7    surcharges, regardless of whether the disclosures of the particular surcharges
8    challenged by plaintiff were misleading, it could no better withstand constitutional
9    scrutiny than the surcharge statute at issue in Italian Colors. As the Ninth Circuit
10   posited, the better, constitutionally permissible solution to regulating surcharges is
11   that “California could require retailers to disclose their surcharges both before and at
12   the point of sale… These alternatives would restrict less speech and would more
13   directly advance California’s asserted interest in preventing consumer deception.”
14   Italian Colors, 878 F.3d at 1178. 9
15           After Italian Colors, the Court cannot resolve this case by reading Section
16   1770(a)(20) to institute a ban on all surcharges. To do so would violate the First
17   Amendment. Instead, it must first determine whether the Surcharge Disclosures at
18   issue in this case are misleading. If they are not misleading, all Plaintiff’s claims
19   must fail as a matter of law.
20   B.      Noble House’s Surcharge is Adequately Disclosed.
21           In the alternative to her per se illegality theory, Plaintiff alleges that Noble
22   House’s Surcharge Disclosures are unfair, deceptive, or misleading and violate the
23   UCL, FAL and CLRA. See generally Cal. Bus. & Prof. Code § 17200 (UCL prongs
24   prohibit “unfair” or “fraudulent” business practices); Cal. Bus. & Prof. Code § 17500
25
     9
       The United Stated Supreme Court and the Eleventh Circuit share similar First
26   Amendment concerns regarding anti-surcharge laws. See Expressions Hair Design
     v. Schneiderman, 137 S. Ct. 1144, 1151, 197 L. Ed. 2d 442 (2017) (“In regulating the
27   communication of prices rather than prices themselves, [New York’s anti-surcharge
     statute] regulates speech.”); Dana’s R.R. Supply v. Attorney Gen., Florida, 807 F.3d
28   1235, 1249 (11th Cir. 2015) (“Turning to the commercial-speech analysis, we make
     short shrift of Florida’s no-surcharge law.”).
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          Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
                Judgment and Cross-Motion for Summary Judgment on All Issues
1    (FAL prohibits “untrue or misleading” statements); Cal. Civ. Code § 1770(a)(9)
2    (CLRA prohibits “unfair or deceptive acts or practices” including false advertising).
3    “Courts often analyze these statutes together because they share similar attributes.”
4    In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 996 F.Supp.2d
5    942, 985 (S.D. Cal. 2014). “[V]iolations of the UCL, FAL, and CLRA are evaluated
6    from the vantage point of a ‘reasonable consumer.’” Reid v. Johnson & Johnson, 780
7    F.3d 952, 958 (9th Cir. 2015) (citation omitted). Under that test, Plaintiff bears the
8    burden of establishing that “it is probable that a significant portion of the general
9    consuming public or of targeted consumers, acting reasonably in the circumstances,
10   could be misled.” Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496, 508, 129
11   Cal. Rptr. 2d 486 (2003) (emphasis added); see also Reid v. Johnson & Johnson, 780
12   F.3d at 958 (reasonable consumer test requires plaintiffs to “show that members of
13   the public are likely to be deceived.”). Importantly, whether a disclosure is adequate
14   is a question of law for the Court to decide, not a question of fact for a jury. See
15   Rubio v. Capital One Bank, 613 F.3d 1195, 1200 (9th Cir. 2010) (“Clarity and
16   conspicuousness is a question of law.”)
17          Plaintiff’s exact theory about why the Surcharge is purportedly unfair,
18   deceptive, false, or misleading has changed throughout the case. At the outset,
19   Plaintiff implied that the Surcharge was not disclosed to customers at any point prior
20   to ordering. See, e.g., Complaint at ¶ 30 (“The surcharge is added after the consumer
21   is finished eating and drinking at Defendant’s restaurants, when it is too late for the
22   consumer to make an informed decision about the increased amount on the total
23   bill.”).   More recently, Plaintiff has accepted that Noble House discloses the
24   Surcharge in a uniform manner before customers order. See, e.g., ECF No. 69-2,
25   Plaintiff’s Statement of Undisputed Material Facts No. 5 and No. 10 (“Noble House
26   placed a disclosure at the bottom of its menus concerning the 3.5% surcharge” and
27   Noble House’s “surcharge practice is the same at Acqua California Bistro, the Olive
28   Lounge, and Fresco’s.”). While there is no dispute of fact as to what Noble House

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       Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1    does to disclose the Surcharge to customers, Plaintiff continues to attack the
2    adequacy of the Surcharge Disclosures in two ways, neither of which hold water
3    under the reasonable customer standard.
4          First, Plaintiff alleges that the Surcharge is disclosed in such a way that a
5    reasonable restaurant patron would likely fail to see the Surcharge Disclosure prior
6    to ordering his or her meal or paying. This theory fails because the undisputed facts
7    now before the Court demonstrate that the Restaurants disclose the Surcharge to
8    customers clearly and conspicuously upon arrival (Signs), before ordering (Menus),
9    and again before payment (Bills).
10         Second, Plaintiff alleges that even if the Surcharge is adequately presented to
11   customers, it is misleading or outright untrue, which requires Plaintiff to show that
12   the Surcharge Disclosure would mislead the reasonable restaurant patron or
13   materially misrepresent the Surcharge altogether.      Plaintiff cannot establish a
14   misleading or untrue statement because the Surcharge Disclosure is truthful and
15   complete.
16         1.    The Surcharge is Disclosed to Customers Clearly and Conspicuously
17               Upon Arrival, Before Ordering, and Before Payment.
18         Noble House goes to great lengths to ensure that its customers receive
19   meaningful notice of the Surcharge. See SOF-3–8. The Signs, Menu, and Bill are
20   designed to ensure that customers are provided with a Surcharge Disclosure upon
21   arriving at the Restaurant, before ordering a meal, and again before paying. Id.
22   Plaintiff’s claims alleging “unfair” or “deceptive” business practices must fail as a
23   matter of law because the Surcharge Disclosures on the Signs, Menu, and Bill are
24   adequate: a reasonable customer is likely to read a Surcharge Disclosure before
25   ordering, and before paying.
26         In an analogous Ninth Circuit case arising under the same California statutes
27   relied on by Plaintiff here, Time, Inc. sent personalized mailers for the “Million
28   Dollar Dream Sweepstakes” to millions of people. Freeman v. Time, Inc., 68 F.3d

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1    285, 287 (9th Cir. 1995). The mailers each “contain[ed] statements in large type
2    representing that [the recipient] won the sweepstakes, qualified by language in
3    smaller type indicating that [the recipient] would win only if he returned a winning
4    prize number.” Freeman v. Time, Inc., 68 F.3d 285, 287 (9th Cir. 1995). One of the
5    recipients of the mailers sued Time, Inc., asserting that the mailer violates
6    California’s statutes prohibiting unfair and deceptive practices and false and
7    misleading advertising. Freeman v. Time, Inc., 68 F.3d 285, 287 (9th Cir. 1995)
8    (citing CLRA, FAL, and UCL). The trial court rejected Freeman’s claims as a matter
9    of law based on nothing more than a review of the mailer’s content. Freeman v.
10   Time, Inc., 68 F.3d 285, 288 (9th Cir. 1995).
11         Affirming the trial court’s dismissal of Freeman’s claims, the Ninth Circuit
12   held that Freeman could not meet his burden of showing that “members of the public
13   are likely to be deceived” because a “reasonable person” would have read the entire
14   mailer and understood the small-type qualifying language. Freeman v. Time, Inc.,
15   68 F.3d 285, 289-290 (9th Cir. 1995). The Ninth Circuit read the mailer “as a whole,”
16   stressing that the “reasonable person” standard must be applied “in the context of the
17   entire document,” and concluded that a reasonable person was not likely to be
18   deceived by the mailer because (i) the mailer contained language explaining that
19   certain conditions had to be met for the recipient to win the sweepstakes, (ii) none of
20   that disclosure language was “hidden or unreasonably small,” (iii) that disclosure
21   language appeared close to the representations it qualified, and (iv) “no reasonable
22   reader could ignore” that disclosure language, rather a reasonable person “would be
23   put on notice… by doing sufficient reading.” Id. On that same basis, the Ninth
24   Circuit concluded that the mailer was not false or misleading “when read reasonably
25   and in context.” Id.
26         A Southern District of New York case regarding whether a group of restaurants
27   adequately disclosed a mandatory service charge on their menus is also instructive.
28   Dimond v. Darden Restaurants, Inc., 13 CIV. 5244 KPF, 2014 WL 3377105, at *1

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       Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
             Judgment and Cross-Motion for Summary Judgment on All Issues
1    (S.D.N.Y. July 9, 2014). In Dimond, Olive Garden and Red Lobster restaurants in
2    New York City applied an 18% surcharge that was disclosed on the restaurants’
3    menus and bills: “The menus at many of the Restaurants state that ‘[a]n 18% gratuity
4    will be added to all guest checks.’” Id. (internal citations omitted). A customer sued,
5    alleging claims under New York’s consumer protection statutes, including
6    allegations that the surcharge as disclosed on the menus and the bills violated New
7    York’s prohibitions on unfair and deceptive practices and false and misleading
8    advertising. Id.
9            In summarily rejecting Dimond’s claims based solely on its review of the
10   restaurants’ surcharge disclosure on their menus and bills, the Dimond court relied
11   heavily on an “on point” unpublished California decision holding that a mandatory
12   fixed-percent service charge “did not violate a California state consumer protection
13   law that prohibited business practices that were ‘unlawful, unfair, or fraudulent’”
14   because the subject menu included a disclosure stating that a 16% surcharge “will be
15   added to food and beverage prices.” 10 Dimond v. Darden Restaurants, Inc., 13 CIV.
16   5244 KPF, 2014 WL 3377105, at *8 (S.D.N.Y. July 9, 2014). Following the same
17   reasonable consumer standard employed by California courts, the Dimond court
18   reasoned that the 18% surcharge was not deceptive or misleading because “the terms
19   and conditions were completely and conspicuously indicated on the menu so that
20   each patron was expressly informed as to the cost of dining at the Restaurants prior
21   to voluntarily placing his or her order.” Dimond v. Darden Restaurants, Inc., 13 CIV.
22   5244 KPF, 2014 WL 3377105, at *8 (S.D.N.Y. July 9, 2014). 11
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       In compliance with California Rule of Court 8.1115(a), Noble House does not cite
     to or rely upon the unpublished California appellate decision that formed the primary
24   basis for Dimond’s analysis and holding; rather, Noble House cites Dimond as
     authority that should be given persuasive weight due to the Dimond court’s
25   acknowledgement of the similarities between New York and California law with
     regard to determining whether a business practice is unfair or deceptive.
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       Courts across the country have similarly rejected challenges to surcharges where
27   those charges are adequately disclosed. See, e.g., Sand v. Ticketmaster–N.Y., Inc.,
     207 A.D.2d 687, 687, 616 N.Y.S.2d 362 (1st Dep’t 1994) (“such fees are always
28   disclosed… the challenged business practices do not violate the prohibition against
     deceptive business practices… since the record shows that these practices are fully
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          Defendant Noble House’s Opposition to Plaintiff’s Motion for Partial Summary
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1          The undisputed facts demonstrate that the Surcharge Disclosures on the Signs,
2    the Menu, and the Bill are each clear and conspicuous. The framed Signs contain
3    nothing but the Surcharge Disclosure, and are prominently displayed at the host stand
4    as well as other areas of the Restaurants, especially areas where customers are most
5    likely to wait before being seated for a meal. The Menu contains a Surcharge
6    Disclosure on the first page in offset text that is the same size font as the other Menu
7    items. As the Ninth Circuit has held, a reasonable customer is presumed to have read
8    the entire Menu, making the reasonable customer no less likely to read the Surcharge
9    Disclosure than he or she is to read the various food and beverage items on the Menu.
10   See Freeman v. Time, Inc., 68 F.3d 285, 289-290 (9th Cir. 1995). The same is true
11   for the Bill, which contains a Surcharge Disclosure in offset text that is the same size
12   font as the other items on the Bill, such that the reasonable customer is likely to read
13   the Surcharge Disclosure again when he or she reads the entire Bill. There is nothing
14   unfair or deceptive about these disclosure practices.
15         While Italian Colors involved surcharges imposed by merchants for using
16   credit cards rather than surcharges imposed by restaurants for service, the Ninth
17   Circuit’s conclusion that the credit card surcharges at issue in Italian Colors were
18   “not misleading” is highly relevant to the Court’s analysis of the Surcharge in this
19   case: “To be sure, credit card surcharges can be deceptive, especially if they are
20   imposed surreptitiously at the point of sale… But nothing in the record suggests that
21   plaintiffs desire to impose credit card surcharges in this way. To the contrary,
22   plaintiffs’ declarations all state that plaintiffs want to communicate, not conceal,
23   credit card surcharges.” Italian Colors, 878 F.3d at 1176-77. Here too, Noble
24   House’s intention has always been to communicate, not conceal, the Surcharge. See
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     disclosed prior to [the sale of tickets].”) (internal quotation marks omitted); Lewis v.
26   Hertz Corp., 181 A.D.2d 493, 494, 581 N.Y.S.2d 305 (1st Dep’t 1992) (“[T]he
     challenged business practices [do not] violate the prohibition against deceptive
27   business practices… since the record shows that these practices are fully disclosed.”);
     Shvarts v. Budget Grp., Inc., 81 Cal. App. 4th 1153, 1160, 97 Cal. Rptr. 2d 722 (2000)
28   (public not “likely to be deceived” by a uniform rental agreement that included
     disclosures regarding fuel surcharges).
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1    SOF-3–8. Noble House’s disclosure practices (Signs, Menu, Bill) align with its good
2    faith intent.
3           In the State Court Action, after holding that restaurant surcharges are not
4    inherently unlawful, Judge Taylor closely examined Galaxy Taco’s surcharge
5    disclosures, finding that the restaurant “made adequate and non-misleading
6    disclosures about the surcharge, thus all claims in the [complaint] fail.” Vespi v.
7    Galaxy Taco, No. 2017-17791 at 10. In support of his conclusion that the surcharge
8    was adequately disclosed and non-misleading, Judge Taylor considered that (1)
9    Galaxy Taco “posts in clear, unambiguous language” a disclosure notice in a sign at
10   the point of entry and on its menu “notifying the guests that a 3% surcharge will be
11   added,” (2) Galaxy Taco’s surcharge disclosure language was similar to language
12   used at “restaurants in San Francisco and Los Angeles which had been charging a
13   surcharge ‘for quite a long time,’” (3) Galaxy Taco “did not calculate and impose the
14   surcharge as a percentage of each item’s price, but instead added 3% to the subtotal
15   of the entire bill, pre-tax,” and (4) when the plaintiff visited Galaxy Taco, there was
16   a “framed surcharge notice on the host stand” and the plaintiff “ordered from a menu
17   that had a surcharge notice in blue color” offset at the bottom of the menu. Id.
18          Noble House’s Surcharge and related disclosure practices at issue in this case
19   align perfectly with Galaxy Taco’s surcharge disclosure practices and the State Court
20   Ruling. First, like Galaxy Taco, Noble House has a framed Sign at its host stand
21   disclosing the Surcharge; in fact, Noble House places additional Signs in bar, lounge,
22   and dining areas. SOF-4. Second, Noble House’s Surcharge Disclosure language
23   (“A 3.5% surcharge will be added to all Guest checks to help cover increasing labor
24   costs and in our support of the recent increases in minimum wage and benefits for
25   our dedicated Team Members”) is similar to Galaxy Taco’s surcharge disclosure
26   language (“A 3.5% surcharge will be added to each bill to help cover increasing
27   operations and labor costs”). SOF-5. Third, like Galaxy Taco, Noble House “d[oes]
28   not calculate and impose the surcharge as a percentage of each item’s price, but

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1    instead add[s] 3[.5]% to the subtotal of the entire bill, pre-tax.” SOF-6. Fourth, both
2    the plaintiff in Galaxy Taco and Plaintiff here ordered from a menu that contained a
3    surcharge disclosure offset in colorful text in the same size font as the other items on
4    the Menu. Compare SOF-5 (Menu) with SOF-18 (Galaxy Taco menu).
5          2.     The Surcharge Disclosure is Truthful and Complete.
6          To establish that the Surcharge Disclosure is false or misleading, Plaintiff
7    bears the burden of showing “it is probable that a significant portion of the general
8    consuming public or of targeted consumers, acting reasonably in the circumstances,
9    could be misled.” Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496, 508
10   (2003); see also Brod v. Sioux Honey Ass’n, Co-op, 927 F.Supp.2d 811, 828 (N.D.
11   Cal. 2013) (plaintiff must show “more than a mere possibility that the advertisement
12   might conceivably be misunderstood by some few consumers viewing it in an
13   unreasonable manner.”). Plaintiff’s claims predicated on the Surcharge Disclosure
14   being false or misleading fail as a matter of law because the Surcharge Disclosure is
15   truthful and complete.
16         First, the Surcharge Disclosure does not contain any false statements; rather,
17   it truthfully explains how the Surcharge is added (“A 3.5% surcharge will be added
18   to all Guest checks”) and what the Surcharge is for (“to help cover increasing labor
19   costs and in our support of the recent increases in minimum wage and benefits for
20   our dedicated Team Members”). The truth of the Surcharge Disclosure is not subject
21   to reasonable dispute; it is disclosed as a separate 3.5% charge and it is imposed as a
22   separate 3.5% charge. See, e.g., SOF-6 (Plaintiff’s Bill lists the Surcharge in the
23   amount of $1.38, exactly 3.5% of her $39.50 subtotal for “items ordered”). And there
24   is no dispute that Plaintiff was charged the 3.5% surcharge just as it was disclosed on
25   the Signs, Menu, and Bill.
26         Second, the Surcharge Disclosure’s express notice that a 3.5% charge will be
27   added to all customers’ bills also defeats Plaintiff’s allegations that the Surcharge
28   Disclosure is misleading. A reasonable customer is not likely to misunderstand what

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1    “[a] 3.5% surcharge will be added to all Guest checks” means. See Rodriguez v.
2    Cheesecake Factory Inc., 16CV2006JMAAKT, 2017 WL 6541439, at *4 (E.D.N.Y.
3    Aug. 11, 2017) (plaintiff’s claim that defendant-restaurant’s disclosure of a fixed-
4    percent charge was “materially misleading” failed because “Only the most
5    rudimentary math skills would be necessary… it is simply not plausible that
6    reasonable consumers lack these skills.”); see also Vespi v. Galaxy Taco, No. 2017-
7    17791 at 10 (Galaxy Taco’s surcharge disclosure was “adequate and not mis-
8    leading”); SOF-18 (Galaxy Taco menu with surcharge disclosure stating “A 3.5%
9    surcharge will be added to each bill to help cover increasing operations and labor
10   costs”).
11                                 VI.   CONCLUSION
12         For all of the foregoing reasons, Noble House respectfully requests that the
13   Court deny Plaintiff’s MPSJ, and grant summary judgment in Noble House’s favor.
14         DATED: January 18, 2019
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